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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                 No. 19-CR-561 (LAP)
-against-
                                                 No. 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                         ORDER
                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

    At sentencing, the Court denied Mr. Donziger’s application

for bail pending appeal but stayed his surrender on the

condition that he seek relief from the Court of Appeals within

one week.     The docket sheet indicates that he has done so.

    If the Court of Appeals grants a stay, the terms thereof

shall control.      However, if the Court of Appeals denies a stay,

Mr. Donziger shall surrender to the United States Marshal at 500

Pearl Street, 4th floor, no later than 24 hours after the Court

of Appeals’ order is docketed.

SO ORDERED.

Dated:       October 12, 2021
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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